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 5

 6

 7
                                  UNITED STATES DISTRICT COURT
 8

 9                             SOUTHERN DISTRICT OF CALIFORNIA


                                                                     '20CV0113 JAH AGS
10
     STEPHEN BUSHANSKY,              )                   CaseNo.
11                                   )
               Plaintiff,            )
12                                   )
                                     )                   COMPLAINT FOR
13       v.                          )                   VIOLATIONS OF THE
                                     )                   FEDERAL SECURITIES LAWS
14 INSTRUCTURE, INC., JOSH COATES,   )
   DAN GOLDSMITH, STEVEN A. COLLINS, )                   JURY TRIAL DEMANDED
15 WILLIAM M. CONROY, ELLEN LEVY,    )
                                     )
16 KEVIN THOMPSON, and LLOYD G.      )
   WATERHOUSE,                       )
17                                   )
               Defendants.           )
18                                   )
                                     )
19                                   )
                                     )
20,.__ _ _ _ _ _ _ _ _ _ _ _ )

21
            Plaintiff Stephen Bushansky ("Plaintiff'), by and through his undersigned counsel, for his
22
23   complaint against defendants, alleges upon personal knowledge with respect to himself, and upon

24 information and belief based upon, inter alia, the investigation of counsel as to all other allegations

25   herein, as follows:

26

27

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                COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
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                                           NATURE OF THE ACTION
 1

 2              1.      This is an action brought by Plaintiff against Instructure, Inc. ("Instructure" or the

 3 "Company") and the members of Instructure's Board of Directors (the "Board" or the "Individual

 4 Defendants") for their violations of Sections 14(a) and 20(a) of the Securities Exchange Act of 1934

 5 (the "Exchange Act"), 15 U.S.C. §§ 78n(a), 78t(a), and U.S. Securities and Exchange Commission
 6
     ("SEC") Rule 14a-9, 17 C.F.R. § 240.14a-9, and to enjoin the vote on a proposed transaction,
 7
     pursuant to which Instructure will be acquired by Thoma Bravo, LLC ("Thoma Bravo") through its
 8
 9 affiliates PIV Purchaser, LLC ("Parent") and PIV Merger Sub, Inc., ("Merger Sub") (the "Proposed

1o Transaction").

11              2.      On December 4, 2019, Instructure issued a press release announcing that they had

12 entered into an Agreement and Plan of Merger dated November 11, 2019 (the "Merger Agreement")
13
     to sell Instructure to Thoma Bravo for $47.60 in cash for each share of Instructure common stock.
14
     The Proposed Transaction values Instructure at an aggregate equity value of approximately $2.0
15
     billion.
16

17              3.      On January 2, 2020, Instructure filed a Schedule 14A Definitive Proxy Statement (as

18 amended on January 7, 2020, the "Proxy Statement") with the SEC. The Proxy Statement, which

19 recommends that Instructure stockholders vote in favor of the Proposed Transaction, omits or

20 misrepresents material information concerning, among other things: (i) Instructure management's
21
     financial projections; (ii) the data and inputs underlying the valuation analyses performed by the
22
     Company's financial advisor, J.P. Morgan Securities LLC ("J.P. Morgan"); (iii) the background of
23
24 the Proposed Transaction; and (iv) Company insiders' potential conflicts of interest. Defendants

25   authorized the issuance of the false and misleading Proxy Statement in violation of Sections 14(a)

26 and 20(a) of the Exchange Act.

27

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                     COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
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            4.        In short, unless remedied, Instructure's public stockholders will be irreparably
 1
 2 harmed because the Proxy Statement's material misrepresentations and omissions prevent them

 3 from making a sufficiently informed voting or appraisal decision on the Proposed Transaction.

 4 Plaintiff seeks to enjoin the stockholder vote on the Proposed Transaction unless and until such
 5
     Exchange Act violations are cured.
 6
                                        JURISDICTION AND VENUE
 7
             5.       This Court has jurisdiction over the claims asserted herein for violations of Sections
 8
 9   14(a) and 20(a) of the Exchange Act promulgated thereunder pursuant to Section 27 of the

10 Exchange Act, 15 U.S.C. § 78aa, and 28 U.S.C. §1331 (federal questionjurisdiction).

11           6.       This Court has jurisdiction over defendants because each defendant is either a

12 corporation that conducts business in and maintains operations in this District, or is an individual
13
     who has sufficient minimum contacts with this District so as to render the exercise of jurisdiction by
14
     this Court permissible under traditional notions of fair play and substantial justice.
15
             7.       Venue is proper in this District pursuant to 28 U.S.C. § 1391 because Plaintiffs
16
17 claims arose in this District, where a substantial portion of the actionable conduct took place, where

18 most of the documents are electronically stored, and where the evidence exists.               Instructure

19 maintains one of its six U.S. offices in San Diego, California and therefore transacts business in this

20 District.      Moreover, each of the Individual Defendants, as Company officers or directors, has
21
     extensive contacts within this District.
22
                                                 THE PARTIES
23
             8.       Plaintiff is, and has been at all times relevant hereto, a continuous stockholder of
24
25   Instructure.

26           9.       Defendant Instructure is a Delaware corporation, with its principal executive offices

27   located at 6330 South 3000 East, Suite 700, Salt Lake City, Utah 84121. The Company helps
28
                                            -3-
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 1 people grow from the first day of school to the last day of work. More than 30 million people use

 2 the Canvas Leaming Management Platform ("Canvas") for schools and the Bridge Employee

 3 Development Platform ("Bridge") for businesses. Instructure's common stock trades on the New

 4 York Stock Exchange under the ticker symbol "INST."
 5
            10.    Defendant Josh Coates ("Coates") has been Executive Chairman of the Board since
 6
     January 2019. Prior to that, defendant Coates served as the Company's Chief Executive Officer
 7
     ("CEO") beginning in October 2010 and as a director of the Company since January 2010.
 8
            11.    Defendant Dan Goldsmith ("Goldsmith") has served as the Company's CEO since
 9
10 January 2019 and has been a director of the Company since October 2018.

11          12.    Defendant Steven A. Collins ("Collins") has been a director of the Company since

12 May 2014.
13
            13.    Defendant Kevin Thompson ("Thompson") has been a director of the Company
14
     since November 2016. Defendant Thompson is President and CEO of SolarWinds Inc., a company
15
     that was acquired by a private equity consortium led by Thoma Bravo and Silver Lake Group
16
17 L.L.C.

18          14.    Defendant Lloyd G. Waterhouse ("Waterhouse") has been a director of the Company

19 since August 2015.
20          15.    Defendants identified in paragraphs 10-14 are referred to herein as the "Board" or
21
     the "Individual Defendants."
22
                                    OTHER RELEVANT ENTITIES
23
            16.    Thoma Bravo is a leading private equity firm focused on the software and
24
25   technology-enabled services sectors. With a series of funds representing more than $35 billion in

26 capital commitments, Thoma Bravo partners with a company's management team to implement

27 operating best practices, invest in growth initiatives and make accretive acquisitions intended to
28
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 1 accelerate revenue and earnings, with the goal of increasing the value of the business. The firm has

 2 offices in San Francisco and Chicago.

 3           17.      Parent is a Delaware limited liability company and an affiliate of Thoma Bravo.

 4           18.      Merger Sub is a Delaware corporation and a wholly owned subsidiary of Parent.
 5
                                    SUBSTANTIVE ALLEGATIONS
 6
 7 Background of the Company

 8           19.      With applications for learning, assessment and performance management, Instructure

 9 enables organizations worldwide to develop, deliver, manage and track engaging academic and
10
     employee development programs. Built on its innovative, cloud-based platform, its applications
11
     combine powerful, elegant and easy-to-use functionality with the reliability, security, scalability and
12
     support its customers require. They include: Canvas - a learning management platform for K-12
13
14 and higher education; and Bridge - an employee development and engagement platform.

15           20.      Instructure launched its first offering, Canvas, in February 2011 and has experienced

16 rapid customer adoption in the education market. To better meet the needs of the corporate market,

17 Instructure leveraged a portion of the foundational code underlying Canvas to develop Bridge,
18
     which it launched in February 2015. Subsequent offerings include Canvas Interactive Video, which
19
     it launched in 2016, and Canvas Assessment, which it launched in 2017. As of December 31, 2018,
20
     Instructure had over 4,000 customers, representing colleges, universities, K-12 schools and
21
22   companies in more than 70 countries.

23           21.      For 2018, 2017 and 2016, Instructure's revenue was $209.5 million, $161.0 million

24 and $112.6 million, respectively, representing year-over-year growth of 30% and 43%. Instructure

25   has experienced net revenue retention rates of over 100% at each of December 31, 2018, 2017 and
26
     2016.
27
             22.      On July 29, 2019, Instructure announced its financial results for the second quarter
28
                                             -5-
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 1 ended June 30, 2019. Defendant Goldsmith commented on the quarter's strong financial results,

 2   stating:

 3              Q2 was another solid quarter for Instructure as we delivered $62.9 million in
                revenue. Our mission of helping people grow from the first day of school to the last
 4              day of work is resonating with our growing customer base of more than 30 million
                people.
 5

 6              23.      On October 28, 2019, Instructure announced its financial results for the third quarter

 7   ended September 30, 2019. Defendant Goldsmith commented on the quarter's strong financial

 8 results, stating:
 9
                Q3 was a solid quarter for Instructure as we grew revenue while improving the
10              bottom line. We delivered $68.3 million in revenue, representing 24% year-over-year
                growth, had GAAP net loss of $20.9 million and exceeded our previously issued
11              guidance for non-GAAP net income by $2.9 million.

12 The Proposed Transaction
13
                24.      On December 4, 2019, Instructure issued a press release announcing the Proposed
14
     Transaction. The press release states, in relevant part:
15
                Salt Lake City - Dec. 4, 2019 - Instructure (NYSE: INST) today announced that it
16              has entered into a definitive agreement to be acquired by Thoma Bravo, LLC, a
17              leading private equity investment firm, in an all-cash transaction that values
                Instructure at an aggregate equity value of approximately $2.0 billion. As part of the
18              terms of the agreement, Instructure stockholders will receive $47.60 in cash per
                share. The price per share represents an 18% premium to the company's 3-month
19              volume-weighted average price as of October 27, 2019, the day prior to the
                Company's third quarter earnings call at which it announced a strategic review for its
20              Bridge business.
21
                "After a thorough review of strategic alternatives, the Instructure board of directors
22              is pleased to reach this agreement," said Josh Coates, Executive Chairman of the
                Board at Instructure.
23
                The Instructure management team, led by CEO Dan Goldsmith, will continue to lead
24
                the company in their current roles. Thoma Bravo will support Instructure as it
25              increases investment in education technology innovation and expands
                internationally.
26
                "Instructure believes the opportunity to become a private Company will provide
27              additional flexibility and position us to invest more strategically to drive innovation
                for our customers," said Goldsmith. "We look forward to working closely with all
28
                                                          -6-
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            parties to complete this transaction and enter into our next chapter of growth and
 1          industry leadership."
 2
            "Instructure's Canvas product is the gold standard for learning management systems
 3          in the global education market," said Holden Spaht, a Managing Partner at Thoma
            Bravo. "We are excited to partner with Dan and the senior management team to
 4          support continued investment and innovation in the company's market leading
            products and world class customer support."
 5

 6          Brian Jaffee, a Principal at Thoma Bravo added, "We've followed the impressive
            Instructure growth story for many years and believe Canvas is a highly unique
 7          vertical market Saas leader with exciting scale and future growth potential. We look
            forward to building on the strong momentum in the business and accelerating growth
 8          and product investment both organically and through M&A."
 9
            The members of Instructure's Board of Directors have unanimously approved the
10          transaction and recommended that its stockholders approve the merger. A special
            meeting of Instructure's stockholders will be held as soon as practicable following
11          the filing of a definitive proxy statement with the U.S. Securities and Exchange
            Commission ("SEC") and subsequent mailing to its stockholders. Instructure's
12          headquarters will remain in Salt Lake City, Utah, with regional offices across the
            United States and abroad. Closing of the transaction is subject to approval by
13
            Instructure stockholders and certain regulatory and antitrust authorities and the
14          satisfaction of customary closing conditions. The transaction is expected to close in
            the first quarter of 2020 and is not subject to a financing condition. Upon completion
15          of the acquisition, Instructure will become wholly-owned by Thoma Bravo.

16          The agreement includes a 35 day "go-shop" period expiring on January 8, 2020,
17          which permits Instructure's board of directors and advisors to solicit alternative
            acquisition proposals from third parties. Instructure will have the right to terminate
18          the merger agreement to enter into a superior proposal subject to the terms and
            conditions of the merger agreement, including the payment of a termination fee to
19          Thoma Bravo. There can be no assurance that this 35 day "go-shop" will result in a
            superior proposal, and Instructure does not intend to disclose developments with
20          respect to the solicitation process unless and until the Board makes a determination
21          requiring further disclosure.

22          J.P. Morgan Securities LLC is serving as the exclusive financial advisor to
            Instructure and Cooley LLP is serving as the legal advisor to Instructure. Kirkland &
23          Ellis LLP is serving as legal advisor to Thoma Bravo.
24
     The Proxy Statement Contains Material Misstatements or Omissions
25
            25.      The defendants filed a materially incomplete and misleading Proxy Statement with
26
     the SEC and disseminated it to Instructure's stockholders. The Proxy Statement misrepresents or
27

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 1 omits material information that is necessary for the Company's stockholders to make an informed

 2   decision whether to vote in favor of the Proposed Transaction or seek appraisal.

 3          26.        Specifically, as set forth below, the Proxy Statement fails to provide Company

 4   stockholders with material information or provides them with materially misleading information
 5
     concerning: (i) Instructure management's financial projections; (ii) the data and inputs underlying
 6
     the valuation analyses performed by the Company's financial advisor, J.P. Morgan; (iii) the
 7
     background of the Proposed Transaction; and (iv) Company insiders' potential conflicts of interest.
 8
 9 Material Omissions Concerning the Company's Financial Projections

10          27.        The Proxy Statement omits material information regarding Company management's

11   financial projections.

12          28.        For example, with respect to the Company's projections, the Proxy Statement fails to
13
     disclose the line items underlying adjusted EBITDA and unlevered free cash flow ("UFCF").
14
            29.        The omission of this information renders the statements in the "Management
15
     Projections" section of the Proxy Statement false and/or materially misleading in contravention of
16
17 the Exchange Act.

18 Material Omissions Concerning J.P. Morgan's Financial Analyses

19          30.        The Proxy Statement describes J.P. Morgan's fairness opinion and the various

20 valuation analyses performed in support of its opinion. However, the description of J.P. Morgan's
21
     fairness opinion and analyses fails to include key inputs and assumptions underlying these analyses.
22
     Without this information, as described below, Instructure's public stockholders are unable to fully
23
24 understand these analyses and, thus, are unable to determine what weight, if any, to place on J.P.

25   Morgan's fairness opinion in determining whether to vote in favor of the Proposed Transaction or

26   seek appraisal.

27

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            31.      With respect to J.P. Morgan's Discounted Cash Flow Analysis, the Proxy Statement
 1
 2 fails to disclose: (i) the line items underlying UFCFs for each set of projections utilized by J.P.

 3 Morgan in the analysis; (ii) the UFCF of Instructure during the final year of the 14.25 year period or

 4 clarification that J.P. Morgan utilized calendar year 2033 UFCF; (iii) the range of terminal asset
 5
     values of Instructure; (iv) quantification of the inputs and assumptions underlying the discount rates
 6
     of9.50% to 11.50%; and (v) the implied terminal multiples resulting from the analysis.
 7
            32.      With respect to J.P. Morgan's Equity Research Analyst Price Targets analysis, the
 8
 9 Proxy Statement fails to disclose the price targets observed by J.P. Morgan and the sources thereof.

10          33.      The omission of this information renders the statements in the "Opinion of J.P.

11   Morgan Securities LLC" section of the Proxy Statement false and/or materially misleading in

12 contravention of the Exchange Act.
13
     Material Omissions Concerning the Background of the Proposed Transaction
14
            34.      The Proxy Statement fails to disclose material information concemmg the
15
     background of the Proposed Transaction.
16

17          35.      For example, the Proxy Statement sets forth that at a November 1, 2019 Board

18 meeting, the Board discussed with Company management, "aspects of the long-term financial plan

19 and projections prepared by Instructure management, including. . . Instructure's recent

20 modifications of its stock-based compensation policies that would increase the proportion of base
21
     compensation that would be paid in the form of cash and reduce the dilutive effect of further stock
22
     grants .... " Proxy Statement at 34. Yet, the Proxy Statement fails to disclose the timing and nature
23
24 of all communications regarding the modifications to the Company's stock-based compensation

25   policies, as well as who participated in all such communications.

26          36.      Additionally, the Proxy Statement sets forth that on December 2, 2019:

27          The Board of Directors instructed Mr. Coates to be responsible for further
            communications with Sponsor C and Thoma Bravo with respect to their proposals,
28
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               acknowledging that Mr. Coates was best positioned to coordinate such request for
 1             final bids for a variety of reasons, including his knowledge of the operations and
 2             business of Instructure, his service as a member of the Transaction Committee
               overseeing the sales process, the absence of any actual or perceived conflicts with
 3             either party, his experience in negotiations, and his status as the Executive Chairman
               of the Board of Directors.
 4
 5 Id. at 39. Then, "[l]ater that same day, at the direction of the Board of Directors, Mr. Coates and a

 6 representative of Sponsor C discussed the Sponsor C $47.00 Proposal and Sponsor C agreed to

 7 increase the Sponsor C $47.00 Proposal to $47.50 per share ...." Id. at 40. The Proxy Statement

 8 then states, "[l]ater that evening, at the direction of the Board of Directors, Mr. Coates and
 9
     Mr. Waterhouse reached out to a representative of Thoma Bravo. Subsequent to this discussion,
10
     Thoma Bravo increased its proposal to acquire Instructure to $47.60 per share...." Id. (emphasis
11
     added).     The Proxy Statement fails, however, to disclose: (i) the Board's basis for allowing
12
13 defendant Waterhouse to contact Thoma Bravo with defendant Coates when the Board had

14 instructed defendant Coates to be responsible for communications earlier that day; and (ii) why

15 defendant Waterhouse was not similarly authorized to contact Sponsor C.
16             37.      Moreover, the Proxy Statement sets forth that:
17
               On January 29, 2019, Instructure and Sponsor A entered into a confidentiality
18             agreement to enable further due diligence discussions with respect to Sponsor A's
               proposal. The confidentiality agreement contained standstill provisions, including a
19             provision prohibiting Sponsor A from, publicly or privately, requesting a waiver of
               the standstill (however, the standstill provision still allowed Sponsor A to privately
20             and confidentially approach Instructure senior management, the Board of Directors
21             or J.P. Morgan at any time to make acquisition proposals). In addition, all of the
               other confidentiality agreements with potential transaction counterparties referred to
22             in this section of the proxy statement contained standstill provisions with such terms.

23 Id. at 27-28. The Proxy Statement fails, however, to disclose the details of the standstill provisions,

24 including the specific conduct by potential transaction counterparties that is governed by the
25
     standstill provisions.
26
27

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            38.      The omission of this information renders the statements in the "Background of the
 1
 2 Merger" section of the Proxy Statement false and/or materially misleading in contravention of the

 3 Exchange Act.

 4   Material Omissions Concerning Company Insiders' Potential Conflicts ofInterest
 5
            39.      The Proxy Statement omits material information regarding potential conflicts of
 6
     interest of Company insiders.
 7
            40.      For example, the December 4, 2019 press release announcmg the Proposed
 8
 9 Transaction states, "[t]he Instructure management team, led by CEO Dan Goldsmith, will continue

1o to lead the company in their current roles." Yet, the Proxy Statement fails to disclose the details of

11   all employment and retention-related discussions and negotiations that occurred between Thoma

12 Bravo and Instructure executive officers, including who participated in all such communications,
13
     when they occurred and their content. The Proxy Statement further fails to disclose whether any of
14
     Thoma Bravo' s proposals mentioned the possibility of Board positions, management retention, or
15
     equity participation in the combined company.
16

17          41.      Additionally, at the December 3, 2019 Board meeting, the Proxy Statement states

18 that the Board discussed "the possibility of establishing a small bonus pool for the purpose of

19 recognizing the efforts of certain employees oflnstructure team with respect to the Merger.... " Id.

20   at 42. The Proxy Statement fails to disclose: (i) the identities of the Instructure team for who the
21
     Board considered establishing a bonus pool; (ii) the proposed amount of the bonus pool; and (iii)
22
     whether the Board did in fact establish a bonus pool.
23
            42.      Communications regarding post-transaction employment and merger-related benefits
24
25   during the negotiation of the underlying transaction must be disclosed to stockholders.        This

26   information is necessary for stockholders to understand potential conflicts of interest of

27

28
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 1 management and the Board, as that information provides illumination concerning motivations that

 2 would prevent fiduciaries from acting solely in the best interests of the Company's stockholders.

 3          43.      The omission of this information renders the statements in the "Background of the

 4 Merger" section of the Proxy Statement false and/or materially misleading in contravention of the
 5
     Exchange Act.
 6
            44.      The Individual Defendants were aware of their duty to disclose the above-referenced
 7
     omitted information and acted negligently (if not deliberately) in failing to include this information
 8
 9 in the Proxy Statement.         Absent disclosure of the foregoing material information prior to the

1o stockholder vote on the Proposed Transaction, Plaintiff and the other Instructure stockholders will

11   be unable to make an informed voting or appraisal decision on the Proposed Transaction and are

12 thus threatened with irreparable harm warranting the injunctive relief sought herein.
13
                                             CLAIMS FOR RELIEF
14
                                                      COUNTI
15
                    Claims Against All Defendants for Violations of Section 14(a) of the
16                       Exchange Act and Rule 14a-9 Promulgated Thereunder
17
            45.      Plaintiff repeats all previous allegations as if set forth in full.
18
            46.      During the relevant period, defendants disseminated the false and misleading Proxy
19
     Statement specified above, which failed to disclose material facts necessary to make the statements,
20
21   in light of the circumstances under which they were made, not misleading in violation of Section

22   14(a) of the Exchange Act and SEC Rule 14a-9 promulgated thereunder.

23          47.      By virtue of their positions within the Company, the defendants were aware of this

24 information and of their duty to disclose this information in the Proxy Statement. The Proxy
25
     Statement was prepared, reviewed, and/or disseminated by the defendants. It misrepresented and/or
26
     omitted material facts, including material information about Company management's financial
27
     projections, the data and inputs underlying the valuation analyses performed by the Company's
28
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 1 financial advisor, the background of the Proposed Transaction, and potential conflicts of interest

 2 faced by Company insiders. The defendants were at least negligent in filing the Proxy Statement

 3 with these materially false and misleading statements.

 4          48.      The omissions and false and misleading statements in the Proxy Statement are
 5
     material in that a reasonable stockholder would consider them important in deciding how to vote on
 6
     the Proposed Transaction or seek to exercise their appraisal rights.
 7
            49.      By reason of the foregoing, the defendants have violated Section 14(a) of the
 8
 9 Exchange Act and SEC Rule 14a-9(a) promulgated thereunder.

10          50.      Because of the false and misleading statements in the Proxy Statement, Plaintiff is

11   threatened with irreparable harm, rendering money damages inadequate.                 Therefore, injunctive

12 relief is appropriate to ensure defendants' misconduct is corrected.
13
                                                     COUNT II
14
                         Claims Against the Individual Defendants for Violations of
15                                  Section 20(a) of the Exchange Act

16          51.      Plaintiff repeats all previous allegations as if set forth in full.
17          52.      The Individual Defendants acted as controlling persons of Instructure within the
18
     meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as
19
     officers and/or directors of Instructure, and participation in and/or awareness of the Company's
20
     operations and/or intimate knowledge of the false statements contained in the Proxy Statement filed
21
22 with the SEC, they had the power to influence and control and did influence and control, directly or

23   indirectly, the decision-making of the Company, including the content and dissemination of the

24 various statements which Plaintiff contends are false and misleading.
25
            53.      Each of the Individual Defendants was provided with or had unlimited access to
26
     copies of the Proxy Statement and other statements alleged by Plaintiff to be misleading prior to
27
     and/or shortly after these statements were issued and had the ability to prevent the issuance of the
28
                                                         - 13 -
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     statements or cause the statements to be corrected.
 1

 2          54.      In particular, each of the Individual Defendants had direct and supervisory

 3   involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had

 4   the power to control or influence the particular transactions giving rise to the securities violations as
 5
     alleged herein, and exercised the same.      The Proxy Statement at issue contains the unanimous
 6
     recommendation of each of the Individual Defendants to approve the Proposed Transaction. They
 7
     were, thus, directly involved in the making of the Proxy Statement.
 8
            55.      In addition, as the Proxy Statement sets forth at length, and as described herein, the
 9
1o Individual Defendants were each involved in negotiating, reviewing, and approving the Proposed

11   Transaction. The Proxy Statement purports to describe the various issues and information that they

12 reviewed and considered-descriptions the Company directors had input into.
13
            56.      By virtue of the foregoing, the Individual Defendants have violated Section 20(a) of
14
     the Exchange Act.
15
            57.      As set forth above, the Individual Defendants had the ability to exercise control over
16
17 and did control a person or persons who have each violated Section 14(a) and SEC Rule 14a-9,

18 promulgated thereunder, by their acts and omissions as alleged herein. By virtue of their positions

19 as controlling persons, these defendants are liable pursuant to Section 20(a) of the Exchange Act.

20   As a direct and proximate result of defendants' conduct, Instructure's stockholders will be
21
     irreparably harmed.
22
                                           PRAYER FOR RELIEF
23
            WHEREFORE, Plaintiff demands judgment and preliminary and permanent relief, including
24
25   injunctive relief, in his favor on behalf of Instructure, and against defendants, as follows:

26          A.       Preliminarily and permanently enjoining defendants and all persons acting in concert

27                   with them from proceeding with, consummating, or closing the Proposed
28
                                           - 14 -
                  COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
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                  Transaction and any vote on the Proposed Transaction, unless and until defendants
 1

 2                disclose and disseminate the material information identified above to Instructure

 3                stockholders;

 4        B.      In the event defendants consummate the Proposed Transaction, rescinding it and
 5
                  setting it aside or awarding rescissory damages to Plaintiff;
 6
          C.      Declaring that defendants violated Sections 14(a) and/or 20(a) of the Exchange Act,
 7
                  as well as SEC Rule 14a-9 promulgated thereunder;
 8
          D.      Awarding Plaintiff the costs of this action, including reasonable allowance for
 9

10                Plaintiffs attorneys' and experts' fees; and

11        E.      Granting such other and further relief as this Court may deem just and proper.
12                                           JURY DEMAND
13        Plaintiff demands a trial by jury on all claims and issues so triable.
14

15 Dated: January 16, 2020                       WEISSLAW LLP
                                                 Joel E. Elkins
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